         Case 3:12-cv-01058-SI       Document 1         Filed 06/13/12   Page 1 of 13



Henry J. Kaplan, OSB No. 830559
Thomas K. Doyle, OSB No. 972511
Bennett, Hartman, Morris & Kaplan, LLP
210 SW Morrison St., Ste. 500
Portland, Oregon 97204-3149
Telephone: (503) 227-4600
Facsimile: (503) 248-6800
Email: doylet@bennetthartman.com
Email: kaplanh@bennetthartman.com

      Attorneys for Plaintiff International Longshore
      Warehouse Union

Jeffrey P. Chicoine, OSB No. 902279
Miller Nash LLP
111 SW 5th Ave Ste 3400
Portland OR 97204
Telephone: (503) 224-5858
Facsimile: (503) 224-0155
Email: jeff.chicoine@millernash.com

      Attorneys for Plaintiff Pacific Maritime
      Association


                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON

                                      Portland Division

 INTERNATIONAL LONGSHORE AND
 WAREHOUSE UNION and PACIFIC MARITIME
 ASSOCIATION,                                                 Case No.

              Plaintiffs,                                           COMPLAINT FOR
                                                                CONFIRMATION AND
       v.                                                ENFORCEMENT OF FINAL AND
                                                            BINDING RULINGS UNDER
 ICTSI OREGON, INC., an Oregon corporation,                 COLLECTIVE BARGAINING
                                                                       AGREEMENT
              Defendant.




Page 1 - COMPLAINT FOR CONFIRMATION AND ENFORCEMENT OF FINAL AND
          BINDING RULINGS UNDER COLLECTIVE BARGAINING AGREEMENT
            Case 3:12-cv-01058-SI       Document 1       Filed 06/13/12    Page 2 of 13




       Plaintiffs INTERNATIONAL LONGSHORE AND WAREHOUSE UNION (“ILWU”)

and PACIFIC MARITIME ASSOCIATION (“PMA”), for their Complaint against Defendant

ICTSI OREGON, INC. (“ICTSI”) herein, allege as follows:

                                 JURISDICTION AND VENUE

       1.       This is an action to enforce a collective bargaining agreement. This action arises

under Section 301 of the Labor Management Relations Act of 1947, as amended (29 U.S.C. §

185). Jurisdiction is conferred upon this Court by the provision of that section.

       2.       Venue is appropriate in this district pursuant to 28 U.S.C. §1391 because Defendant

ICTSI maintains its principal place of business in this district.

       3.       Plaintiff ILWU is, and at all times mentioned herein was, an unincorporated

association commonly known as a labor union and maintains its principal offices in San Francisco,

California. The ILWU represents longshore workers, longshore mechanics, gearmen, and marine

clerks, employed by waterfront companies who are members of PMA, at all West Coast ports

including Portland, Oregon. The ILWU is, and at all times mentioned herein has been, a labor

organization representing employees within the meaning of Section 301 of the Labor Management

Relations Action, 29 U.S.C. § 185.

       4.       Plaintiff PMA is, and at all times mentioned herein has been, a non-profit

corporation organized and existing under and by virtue of the laws of the State of California. At all

material times, PMA has maintained its principal office at 555 Market Street, San Francisco,

California. PMA is a multiemployer collective bargaining association whose members include

stevedoring companies, terminal operators, and maintenance and repair contractors that employ

dockworkers, such as longshoremen, throughout the United States Pacific Coast. PMA represents


Page 2 - COMPLAINT FOR CONFIRMATION AND ENFORCEMENT OF FINAL AND
          BINDING RULINGS UNDER COLLECTIVE BARGAINING AGREEMENT
            Case 3:12-cv-01058-SI      Document 1      Filed 06/13/12     Page 3 of 13




these employers, including Defendant ICTSI, in collective bargaining negotiations with the ILWU

and in the administration of the resulting labor agreements.

       5.       Defendant ICTSI is, and at all times mentioned herein has been, a for-profit

corporation organized and existing under and by virtue of the laws of the State of Oregon. At all

material times, ICTSI has maintained a principal place of business at the Portland of Portland

(Terminal 6), and has employed longshore workers, including longshore mechanics, who are

represented by the ILWU.

       6.       PMA and its member companies, including ICTSI, are, and at all times mentioned

herein have been, employers in an industry affecting commerce, as defined in Section 501 of the

Labor Management Relations Act of 1947, 29 U.S.C. § 142, and Section 2 of the National Labor

Relations Act, 29 U.S.C. § 152, and within the meaning of Section 301 of the Labor Management

Relations Act, 29 U.S.C. § 185.

                                             FACTS

                             The Collective Bargaining Agreement

       7.       The ILWU and PMA are parties to a single, coastwise, collective bargaining

agreement covering all commercial ports along the West Coast of the United States from San

Diego, California to Bellingham, Washington. The collective bargaining agreement is known as

the “Pacific Coast Longshore and Clerks Agreement” (“PCL&CA”), which is set forth in two

documents, (1) the Pacific Coast Clerks Contract Document, which governs the wages, hours, and

terms and conditions of employment for marine clerks employed by PMA member companies, and

(2) the Pacific Coast Longshore Contract Document (“PCLCD”), which governs the terms and

condition of employment of all longshore workers, including longshore mechanics, employed by


Page 3 - COMPLAINT FOR CONFIRMATION AND ENFORCEMENT OF FINAL AND
          BINDING RULINGS UNDER COLLECTIVE BARGAINING AGREEMENT
            Case 3:12-cv-01058-SI      Document 1       Filed 06/13/12     Page 4 of 13




PMA member companies, including ICTSI. A true and correct copy of the relevant portions of the

PCLCD in effect during the period July 1, 2008 through July 1, 2014 is attached hereto as

Exhibit A.

       8.       The PCL&CA is administered by the Joint Coast Labor Relations Committee

(Coast LRC). The Coast LRC is the master labor-management committee for the entire West Coast

and is composed of representatives of the ILWU and PMA headquarters in San Francisco,

California, where the Coast LRC regularly meets and conducts its business under the Agreement.

Its decisions are binding on the parties in all ports and become a part of the PCL&CA.

       9.       Each port has at least one Joint Port Labor Relations Committee (“JPLRC”), which

is a joint labor-management committee composed of representatives of the ILWU Local Union

and the local PMA-member companies at that particular port. The JPLRC administers the

PCL&CA at the local level and its decisions are binding on the local parties, subject to the ultimate

control of the Coast LRC.

       10.      The preamble to the PCLCD specifies, “All property rights in and to the

Agreement, including this Contract Document for longshoremen, are entirely and exclusively

vested in the Pacific Maritime Association and the International Longshore and Warehouse Union

respectively, and their respective members.”

       11.      Section 1 of the PCLCD, entitled, “Scope of This Contract Document and

Assignment of Work to Longshoremen,” contains detailed provisions describing the nature and

scope of the work that ILWU-represented employees are contractually entitled to perform under

the Agreement.




Page 4 - COMPLAINT FOR CONFIRMATION AND ENFORCEMENT OF FINAL AND
          BINDING RULINGS UNDER COLLECTIVE BARGAINING AGREEMENT
          Case 3:12-cv-01058-SI         Document 1       Filed 06/13/12     Page 5 of 13




       12.     Section 1.7 states, “The Contract Document shall apply to the maintenance and

repair of containers of any kind and of chassis, and the movement incidental to such maintenance

and repair. (See Section 1.81.)”

       13.     Section 1.71 states, “This Contract Document shall apply to the maintenance and

repair of all stevedore cargo handling equipment. (See Section 1.81.)”

       14.     The work described in Sections 1.7 and 1.71 includes the maintenance and repair of

refrigerated containers commonly referred to as “reefers.” Reefers loaded with cargo have to be

plugged into a power source in order to keep their contents within a specified temperature range.

The maintenance and repair of reefers includes plugging the reefers into a power source,

unplugging them when needed and monitoring their temperatures and vent settings.

       15.     Section 1.76 states that, “The Employers shall assign work in accordance with

Section 1 provisions and as may be directed by the CLRC or an arbitration award, which the

Employers shall defend in any legal proceeding. PMA shall participate along with the individual

Employers assigning the work in any legal proceeding.”

       16.     Section 1.81 states, “ILWU jurisdiction of maintenance and repair work shall not

apply at those specific marine terminals that are listed as being ‘red circled’ in the July 1, 2008

Letter of Understanding on this subject….”

       17.     Section 1.82 states, “An employer in a port covered by this Contract Document

who joins the Association subsequent to the execution hereof and who is not a party to any

conflicting longshore agreement becomes subject to this Contract Document.”

       18.     Section 11.2 states that, “The Union and Employers, as the case may be, shall be

required to secure observance of this Agreement.”


Page 5 - COMPLAINT FOR CONFIRMATION AND ENFORCEMENT OF FINAL AND
          BINDING RULINGS UNDER COLLECTIVE BARGAINING AGREEMENT
          Case 3:12-cv-01058-SI         Document 1       Filed 06/13/12     Page 6 of 13




       19.     Section 18.1 requires the parties to act in good faith:

               As an explicit condition hereof, the parties are committed to observe
               this Agreement in good faith. The Union commits the locals and
               every clerk it represents to observe this commitment without resort
               to gimmicks or subterfuge. The Employers give the same guarantee
               of good faith observance on their part.

             The Mandatory Grievance/Arbitration Provisions in the Agreement

       20.     Section 17 sets forth the parties’ mandatory grievance procedure for final and

binding resolution of disputes arising under the PCL&CA.

       21.     Section 17.15 specifies that, “The grievance procedure of this Agreement shall be

the exclusive remedy with respect to any dispute arising . . .” under the Agreement. Section 17 and

its various subparts set out a multi-step, coastwise labor relations/arbitration system for processing

and resolving all manner of contract disputes. Under this system, disputes between the ILWU and

PMA concerning application and interpretation of the Agreement are initiated at the local level,

where they are first considered by the JPLRC.

       22.     Under Section 17.25 of the PCL&CA, disputes that are not resolved by the JPLRC

may be referred to arbitration before the Area Arbitrator. The Area Arbitrators are standing

arbitrators who hear all contract disputes arising within their geographic area. There are four

separate “areas” - Southern California, Northern California, the Columbia River and Oregon Coast

Ports Area, and the Puget Sound Area. At all relevant times to this complaint, Jan R. Holmes has

served as the Columbia River and Oregon Coast Ports Area Arbitrator.

       23.     Section 17.52 of the Agreement specifies that the powers of the arbitrators are

limited strictly to the application and interpretation of the Agreement as written, and that they have

"jurisdiction to decide any and all disputes arising under the Agreement. . . ."


Page 6 - COMPLAINT FOR CONFIRMATION AND ENFORCEMENT OF FINAL AND
          BINDING RULINGS UNDER COLLECTIVE BARGAINING AGREEMENT
          Case 3:12-cv-01058-SI           Document 1     Filed 06/13/12     Page 7 of 13




       24.     Section 17.26 states, “The Joint Coast Labor Relations Committee has jurisdiction

to consider issues that are presented to it in accordance with this Agreement and shall exercise

such jurisdiction where it is mandatory and may exercise it where such jurisdiction is discretionary

as provided in section 17.261, section 17.262 and other provisions of this Agreement.” With or

without a prior grievance, prior JPLRC ruling or prior Area Arbitration award, the Coast LRC has

the discretion to review and resolve disputes that arise under the PCL&CA. At the Coast LRC, the

ILWU and PMA each have one vote, even though each side may be represented by multiple

representatives at particular meetings.

       25.     Section 17.52 of the Agreement specifies that the powers of the arbitrators are

limited strictly to the application and interpretation of the Agreement as written, and that they have

"jurisdiction to decide any and all disputes arising under the Agreement. . . ."

       26.     The rulings of the Coast LRC, as specified in the PCL&CA, are final and binding

on all the parties who are subject to the PCL&CA and are part and parcel of the parties’ collective

bargaining agreement.

                            The Coast LRC Rulings to Be Enforced

       27.     In or about 2008, ILWU Local 8 filed grievances alleging that PMA-member

companies were violating the PCL&CA by failing to assign certain reefer maintenance and repair

work to ILWU longshore mechanics at Terminal 6 in the Port of Portland. Specifically, ILWU

Local 8 alleged that PMA-member companies were refusing and failing to assign to ILWU

longshore mechanics the work of plugging, unplugging and monitoring of reefers on the dock at

Terminal 6. The JPLRC reviewed the issue and later referred the matter to Area Arbitration.




Page 7 - COMPLAINT FOR CONFIRMATION AND ENFORCEMENT OF FINAL AND
          BINDING RULINGS UNDER COLLECTIVE BARGAINING AGREEMENT
          Case 3:12-cv-01058-SI       Document 1      Filed 06/13/12    Page 8 of 13




       28.     On or about February 12, 2011, Defendant ICTSI commenced operating

Terminal 6. ICTSI failed and refused to assign the work of plugging, unplugging and monitoring

of reefers on the dock to ILWU longshore mechanics.

       29.     In or about early 2012, ILWU Local 8 filed new grievances against ICTSI and other

PMA member companies alleging that they were, among other things, refusing and failing to

assign to ILWU longshore mechanics the work of plugging, unplugging and monitoring of reefers

on the dock at Terminal 6.

       30.     Before the Area Arbitration on the grievances was held, the Coast LRC decided to

address the issue. On or about May 23, 2012, the Coast LRC held a special meeting. The Coast

LRC met in a special meeting and reviewed the relevant provisions of the PCL&CA and relevant

arbitral precedent.

       31.     The same day, the Coast LRC issued a set of minutes reflecting the Coast LRC’s

ruling. The minutes are labeled CLRC-012-2012, as they reflect the CLRC meeting number twelve

held in 2012. The minutes state:

               After discussion and consideration of the matter, and in accordance
               with its authority under Section 17.26 and 17.27 of the PCLCD, the
               CLRC agree the work in dispute, currently being performed by
               other than ILWU workers, is work that is covered by Section 1.7 at
               the Terminal 6 facility in Portland and shall be performed by ILWU
               represented workers.

               …

               The Committee instructs ICTSI to assign the subject work to ILWU
               represented Longshore personnel in accordance with the PCLCD
               and this CLRC agreement. The Committee further instructs ICTSI
               to comply with Section 1.76, PCLCD.




Page 8 - COMPLAINT FOR CONFIRMATION AND ENFORCEMENT OF FINAL AND
          BINDING RULINGS UNDER COLLECTIVE BARGAINING AGREEMENT
            Case 3:12-cv-01058-SI      Document 1      Filed 06/13/12     Page 9 of 13




A true and correct copy of the complete Coast LRC minutes from CLRC-012-2012, which

constitute the Coast LRC’s May 23, 2012 ruling (hereinafter, “CLRC-012-2012 Ruling”), is

attached hereto as Exhibit B.

       32.      The CLRC-012-2012 Ruling became and is a final and binding agreement of the

parties pursuant to the provisions of Section 17 of the PCL&CA.

       33.      Thereafter, representatives of ILWU Local 8 filed a grievance alleging that

Defendant ICTSI was failing and refusing to comply with the May 23, 2012 Ruling.

       34.      On or about June 4, 2012, Jan R. Holmes, the Area Arbitrator conducted an

arbitration hearing. Immediately following the hearing, she issued a hand-written decision

holding:

       1)       The Employers have failed to secure observance of the Agreement in

                violation Section 11.2, PCLCD by failing to implement Coast LRC

                directive dated May 23, 2012, in CLRC Mtg # 12-12.

       2)       The Employers shall immediately assign the work in question to ILWU

                Local 8 in accordance with CLRC Mtg # 12-12.

A true a correct copy of the Area Arbitrator’s hand-written June 4, 2012, ruling is attached hereto

as Exhibit C.

       35.      Later the same day, Area Arbitrator Holmes issued a type-written decision further

memorializing her ruling, labeled CRAA-008-2012. (“CRAA” stands for “Columbia River Area

Arbitrator” and “008-2012” indicates it is the eighth decision issued from the Columbia River

Area Arbitrator in 2012.) The Columbia River Area Arbitrator held:




Page 9 - COMPLAINT FOR CONFIRMATION AND ENFORCEMENT OF FINAL AND
          BINDING RULINGS UNDER COLLECTIVE BARGAINING AGREEMENT
         Case 3:12-cv-01058-SI        Document 1      Filed 06/13/12     Page 10 of 13




             1. The Employers have failed to secure observance of the Agreement in

                violation of Section 11.2, PCLCD by failing to implement Coast LRC

                directive dated May 23, 2012, CLRC Meeting #12-2012.

             2. The Employers shall immediately assign the work in question to ILWU

                Local 8 in accordance with CLRC Meeting #12-2012.

             3. The local grievance machinery is stalled and in accordance with Section

                17.282, PCLCD, the matter in dispute can be referred at once by either the

                Union or the Association to the Joint Coast Labor Relations Committee for

                disposition.

A true and correct copy of CRAA-008-2012 is attached hereto as Exhibit D.

       36.      Because ICTSI continued to fail to comply with CRAA-008-2012, on or about June

5, 2012, the ILWU referred the matter of ITCSI's failure to implement the May 23, 2012 Ruling to

the Coast LRC.

       37.      On or about June 6, 2012, the Coast LRC met in a special meeting to address

CRAA-008-2012 and ICTSI continued noncompliance with CLRC-012-2012.

                The Committee agreed to affirm orders 1 and 2 of CRAA-008-2012
                and the agreement reached in CLRC meeting No. 12-12. It was
                further agreed that ICTSI has, to date, failed to comply with the
                CLRC order.

                The Union moved: the contract grievance machinery has stalled and
                filed to work, and that the relevant CLRC agreements and the
                associated arbitration awards shall be implemented immediately.

                The Employers voted “yes” noting that such vote is specific to the
                CLRC order in Meeting No. 12-12 regarding ICTSI and the fact that
                the grievance machinery has stalled in this matter.



Page 10 - COMPLAINT FOR CONFIRMATION AND ENFORCEMENT OF FINAL AND
          BINDING RULINGS UNDER COLLECTIVE BARGAINING AGREEMENT
         Case 3:12-cv-01058-SI       Document 1       Filed 06/13/12    Page 11 of 13




The minutes of this meeting are labeled CLRC-013-2012. A true and correct copy of the minutes

reflecting this ruling (hereinafter, “CLRC-013-2012 Ruling”) is attached hereto as Exhibit E.

       38.     CLRC-013-2012 Ruling became and is a final binding agreement of the parties

pursuant to the provisions of Section 17 of the PCL&CA.

                     CAUSE OF ACTION FOR ENFORCEMENT OF

                       COLLECTIVE BARGAINING AGREEMENT

       39.     ICTSI continues to refuse to comply with the CLRC-012-2012 Ruling and

CLRC-013-2012 Ruling by continuing to fail and refuse to assign the plugging, unplugging and

monitoring of reefers on the dock at Terminal 6 to ILWU longshore mechanics. The

CLRC-012-2012 Ruling and CLRC-013-2012 Ruling are final and binding on all parties under

section 17 of the PCL&CA.

       40.     Section 1.76 of the PCLCD requires ICTSI to “assign work in accordance with

Section 1 provisions and as may be directed by the CLRC or an arbitration award.”

       41.     Section 1.74 of the PCLCD forbids ICTSI from engaging in “subterfuge to avoid

[its] maintenance and repair obligations under this Agreement to the ILWU.”

       42.     Section 18 of the PCLCD requires ICTSI to observe the PCLCD “in good faith.”

ICTSI has and continues to violate Section 18 by disregarding the CLRC-012-2012 Ruling and

CLRC-013-2012 Ruling.

       43.     The CLRC-012-2012 Ruling and CLRC-013-2012 Ruling are subject to immediate

enforcement and confirmation pursuant to Section 301 of the Labor Management Relations Act,

29 U.S.C. §185.




Page 11 - COMPLAINT FOR CONFIRMATION AND ENFORCEMENT OF FINAL AND
          BINDING RULINGS UNDER COLLECTIVE BARGAINING AGREEMENT
         Case 3:12-cv-01058-SI        Document 1       Filed 06/13/12    Page 12 of 13




       44.      By continuing to fail and refuse to comply with these rulings, ICTSI is causing and

continuing to cause ILWU, PMA, and PMA member companies ongoing, irreparable injury not

compensable by money damages, including but not limited to, injury to the coastwise bargaining

relationship.

                                    PRAYER FOR RELIEF

       As to the Cause of Action for enforcement of the collective bargaining agreement, Plaintiff

ILWU prays for judgment as follows:

                1. That the Court order ICTSI to comply with the CLRC-012-2012 Ruling and

                   CLRC-013-2012 Ruling by immediately assigning the work of plugging,

                   unplugging and monitoring of reefers on the dock at Terminal 6 to ILWU

                   longshore mechanics.

                2. That the Court issue a temporary and permanent injunction compelling ICTSI

                   to immediately assign the work of plugging, unplugging and monitoring of

                   reefers on the dock at Terminal 6 to ILWU longshore mechanics.

                3. That upon trial of this action, judgment be had against ICTSI.

                4. For all damages sustained by ILWU as a result of ICTSI’s failure to comply

                   with, implement or secure compliance with said Coast LRC rulings and

                   agreements.

                5. For ILWU’s costs of suit incurred herein including reasonable attorneys’ fees;

                   and




Page 12 - COMPLAINT FOR CONFIRMATION AND ENFORCEMENT OF FINAL AND
          BINDING RULINGS UNDER COLLECTIVE BARGAINING AGREEMENT
      Case 3:12-cv-01058-SI       Document 1      Filed 06/13/12    Page 13 of 13




            6. For such other relief as the Court may deem just and proper.

     DATED this 13th day of June, 2012.

                                                s/Henry J. Kaplan
                                                Henry J. Kaplan, OSB 850330
                                                Thomas K. Doyle, OSB 972511
                                                Of Attorneys for Plaintiffs
                                                kaplanh@bennetthartman.com
                                                doylet@bennetthartman.com
                                                   Attorneys for Plaintiff International
                                                   Longshore and Warehouse Union

                                                Jeffrey P. Chicoine, OSB No. 902279
                                                Miller Nash LLP
                                                111 SW 5th Ave Ste 3400
                                                Portland OR 97204
                                                Telephone: (503) 224-5858
                                                Facsimile: (503) 224-0155
                                                jeff.chicoine@millernash.com
                                                    Attorneys for Plaintiff Pacific Maritime
                                                    Association




Page 13 - COMPLAINT FOR CONFIRMATION AND ENFORCEMENT OF FINAL AND
          BINDING RULINGS UNDER COLLECTIVE BARGAINING AGREEMENT
